Case 1:11-cv-02179-WYD-KMT Document 58 Filed 01/30/12 USDC Colorado Page 1 of 5




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-cv-02179-WJM-KMT


  Jane Roe,

                 Plaintiff

  v.

  Catholic Health Initiatives Colorado,
  A Colorado nonprofit corporation,
  d/b/a Centura-Health-Penrose Hospital

                 Defendant.


            PLAINTIFF’S RESPONSE TO OBJECTION TO ORDER (DOC. #50)


         Plaintiff, Jane Roe, by and through counsel, Donna Dell’Olio, Cornish & Dell’Olio,

  P.C. files this Response to Defendant’s Objection to Magistrate Judge Tafoya’s Order

  granting Plaintiff leave to proceed under a pseudonym. In support of her Response

  Plaintiff states as follows:

                                         Introduction

         Defendant’s Objection rests in part upon the assertion that the portions of the

  ADA relied upon by Magistrate Judge Tafoya in her Order (Doc. #50) do not apply to

  Defendant’s conduct in this case. Presumably Defendant refers to 42 U.S.C. §

  12112(d), which governs medical examinations and inquiries for current employees and

  was cited extensively by Magistrate Judge Tafoya. Defendant asserts that this section

  does not apply to the drug testing that occurred in this case because drug testing for the



                                              1
Case 1:11-cv-02179-WYD-KMT Document 58 Filed 01/30/12 USDC Colorado Page 2 of 5




  illegal use of drugs has been specifically exempted from the medical examination

  provision of the Act. This argument misstates both the law and underlying facts of this

  claim and shows a continued lack of concern regarding the privacy violations that led to

  the filing of this lawsuit.

                                          Argument

         Defendant argues that the ADA does not prohibit “a test for the illegal use of

  drugs.” The assertion is true but misses the point. The medical examinations and

  inquiries that Plaintiff underwent were not intended to uncover “the illegal use of drugs.”

  The definition of “illegal use of drugs” contained in the ADA regulations specifically

  excludes the use of prescription medication taken under a physician’s supervision. 29

  C.F.R. § 1630.3(a)(2) (“Illegal use of drugs means the use of drugs the possession or

  distribution of which is unlawful under the Controlled Substances Act, as periodically

  updated by the Food and Drug Administration. This term does not include the use of a

  drug taken under the supervision of a licensed health care professional, or other uses

  authorized by the Controlled Substances Act or other provisions of Federal law.”) (italics

  added). See also 29 C.F.R. § 1630.3(a)(1) (defining “drugs” as “a controlled substance,

  as defined in schedules I through V of section 202 of the Controlled Substances Act (21

  U.S.C 812).”).

         The only type of drug test exempted from the restrictions applicable to medical

  examinations are tests “for the illegal use of drugs.” 42 U.S.C. § 12114(d)(1) (stating

  that, “For purposes of this subchapter, a test to determine the illegal use of drugs shall

  not be considered a medical examination.”). The Equal Employment Opportunity



                                               2
Case 1:11-cv-02179-WYD-KMT Document 58 Filed 01/30/12 USDC Colorado Page 3 of 5




  Commission has defined a “medical examination” as “a procedure or test that seeks

  information about an individual's physical or mental impairments or health.” EEOC

  ENFORCEMENT GUIDANCE: DISABILITY RELATED INQUIRIES AND MEDICAL EXAMINATIONS OF

  EMPLOYEES UNDER THE ADA, http://www.eeoc.gov/policy/docs/guidance-inquiries.html

  (January 26, 2012). A drug test fits within this definition. Therefore, a drug test for the

  use of “a drug taken under the supervision of a licensed healthcare professional”

  qualifies as a medical examination under the ADA. Depositions taken in the case prove

  Plaintiff’s assertion that her drug testing was prompted by her use of prescription

  medication rather than any belief that she was engaged in the illegal use of drugs.

  Exhibit 2 – Deposition of Kenya Russell, 97:14-19 (stating that, “Before you ordered the

  reasonable-suspicion drug test, had anyone alleged that she was using illegal drugs?

  A. No. Q. Did you have any reason to believe she was using illegal drugs? A.

  No.”);

           Ms. Russell’s deposition testimony demonstrates that Defendant’s inquiries and

  examinations were not motivated by a belief that illegal drug use was occurring but

  rather by a belief that Plaintiff was using physician prescribed medications at work.

  Given these facts there is no basis for claiming that Defendant’s medical inquiries and

  evaluations of Plaintiff were justified as “a test for the illegal use of drugs.”

                                           Conclusion

           42 U.S.C. § 12114(d) as cited by Magistrate Judge Tafoya directly applies to

  Defendant’s conduct in this case because the Defendant engaged in medical

  examinations and inquiries subject to that section of the ADA. The tests and



                                                 3
Case 1:11-cv-02179-WYD-KMT Document 58 Filed 01/30/12 USDC Colorado Page 4 of 5




  evaluations were not for the purpose of discovering the illegal use of drugs and

  therefore are not exempted from the requirements of 42 U.S.C. § 12112(d).

         The Order which Defendant objects to is supported by careful analysis of

  precedent in this jurisdiction. The Objection is based on a misunderstanding of the

  applicability of 42 U.S.C. § 12112(d) to drug tests.

         WHEREFORE, Plaintiff respectfully requests that the Court affirm Magistrate

  Judge Tafoya’s Order.

         Respectfully submitted this 30th day of January, 2012.

                                             CORNISH & DELL'OLIO, P.C.


                                             /s/ Donna Dell’Olio
                                             Donna Dell’Olio, # 10887
                                             Cornish & Dell’Olio, P.C.
                                             431 N. Cascade Avenue, Ste. 1
                                             Colorado Springs, CO 80903
                                             TEL (719) 475-1204
                                             FAX (719) 475-1264
                                             Email: ddellolio@cornishanddellolio.com
                                             Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of January, 2012, I electronically filed with
  the Clerk of Court using the CM/ECF system a true and correct copy of the foregoing
  PLAINTIFF’S RESPONSE TO OBJECTION TO ORDER (DOC. #50) was sent by
  email:

  Mark L. Sabey
  Kutak Rock, LLP
  1801 California Street, Suite 3100
  Denver, CO 80202-2626
  Tele: (303) 297-2400
  Fax: (303) 292-7799



                                                4
Case 1:11-cv-02179-WYD-KMT Document 58 Filed 01/30/12 USDC Colorado Page 5 of 5




  email: mark.sabey@kutakrock.com



                                    s/Esther Kumma Abramson
                                    Esther Kumma Abramson




                                      5
